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IN THE UNITED sTATEs DIsTRIc'r coURT mo BY M€LZD.C-
FoR THE wEsTERN DISTRICT oF TENNESSEE
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ABDISITAR JAMA, , m _`
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Plaintiff,
v. No. 03-2965 Ma/P
CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER ON MOTIONS FOR SUMMARY JUDGMENT

 

This case arises from Plaintiff’s arrest by Memphis police
officers. Plaintiff brings suit under 42 UZS.C. § 1983, the
Tennessee Governmental Tort Liability Act (“TGTLA”), T.C.A. § 29-
20-101, §§ §§g., and Tennessee common law. Before the court are
two pending motions. Defendant City of Memphis (“the City”) filed
a motion for summary judgment on April l, 2005, and the four
Defendant police officers (the “individual officers”), sued in
their individual and official capacities, filed a separate motion
for summary judgment on the same day. Plaintiff responded to each
of those motions on May 4, 2005. The individual officers filed a
reply on May 16, 2005, and the City filed a reply on May 24, 2005.
For the following reasons, the City's motion is GRANTED in part and
DENIED in part, and the individual officers' motion is GRANTED in

part and DENIED in part.

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I. Background

The complaint alleges the following facts. In the early
morning hours of January 5, 2003, Jama was in his apartment with
Shakib Hassan. (Compl. at 1 21.) When Jama’s roommate, Ali Hayle,
arrived at the apartment, an argument began between Jama and Hayle.
(_I_d4 at 11 22-23.) Officer Maverick Gibbs had been dispatched to
the apartment building in response to an unrelated incident. (_I_d4
at 1 24.) Hayle encountered Officer Gibbs in the hall and asked
Gibbs to accompany him back to his apartment. (lg4 at 1 25.) Gibbs
followed Hayle to the apartment and asked that Jama and Hassan be
quiet. (ld; at 1 26.) Gibbs then left the apartment. (lg4 at 1 27.)
He returned a short time later, at which point Gibbs and Jama began
to fight. (;ga at 11 27-28.)

. During the course of the fight, Officers Cathy Beacham and
Julius Beasley arrived on the scene. (ld4 at 1 36.) Before the
fight ended, Gibbs had struck and kicked Jama, causing his eye,
nose, mouth and cheek to bruise and/or bleed, sprayed Jama with
mace, and kicked Jama, causing him to land headfirst on the floor.
(ld4 at 11 30-34.) Gibbs eventually handcuffed Jama and placed him
under arrest. (ld; at 11 35, 39.) After restraining Jama, Gibbs
continued to assault him. (ldL at 11 37-38.) Gibbs and Beacham
lifted Jama from the floor and, because Jama was having difficulty
walking, Gibbs assisted him from the apartment. (lc_l4 at 11 40-41.)

When Gibbs and Jama reached the stairs leading to the parking

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lot, Gibbs released Jama, allowing him to fall down the stairs.
(ld; at 11 42.) Shortly after the fall, Lieutenant Frank Bell
arrived at the scene, picked Jama up and placed him in Gibbs’s
vehicle. (_I_d4 at 1 45.) Bell did not seek to assist Jama further
despite his obvious injuries, and Gibbs did not inform Bell of the
preceding events. (ld; at 11 44-46.) After approximately ninety
minutes, while still in handcuffs, Jama was taken to the Regional
Medical Center at Memphis (“the Med”). (ld; at 11 47-50.) Four
hours after arriving at the Med, Jama was removed from the police
holding area for a CAT scan. (ld4 at 11 50-51.) Six hours after his
arrival, Jama's handcuffs were removed for the first time so that
surgery could be performed.l (ldg at 11 50, 52.) Jama’s vital signs
did not stabilize until approximately seven days later on January
12, 2003. (;g4 at 1 54.)
II. Jurisdiction

Plaintiff brings suit under § 1983 for violations of his
Fourth and Fourteenth Amendment rights. This court, therefore, has
jurisdiction under 28 U.S.C. § 1331. The court has jurisdiction
over pendant state claims under 28 U.S.C. § 1367.
III. Legal Standard

The party moving for summary judgment “bears the burden of

 

1 The complaint is unclear as to Jama’s injuries, stating that he was
taken to surgery “as a result of blunt trauma, or bleeding, to the head.”
(Compl. at 1 52.) The complaint seems to confuse the cause of the injury,
blunt force trauma, with the injury itself, bleeding.

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clearly' and convincingly establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. Linden-Alimak. Inc.,
799 F.2d 1128, 1133 (6th Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence
to support an essential element of their case. See Street v. J.C.
Bradford & CO., 886 F.2d 1472, 1479 (6th Cir. 1989).

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
_exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. §§e Anderson v. Libertv Lobbv.
lng;, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere

reliance on the pleadings. See Celotex Corp. v. Catrett, 477 U.S.

 

317, 324 (1986). Instead, the nonmoving party' must present
“concrete evidence supporting its claims.” Cloverdale Equip. Co.
v. Simon Aerials, Inc., 869 F.2d 934, 937 (6th Cir. 1989). The

 

district court does not have the duty to search the record for such

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evidence. See InterRoyal Corp. v. Sponseller, 889 F.2d 108, 110-11
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury
decision in their favor. gee id¢
IV. The City's Motion for Summary Judgment

In a prior order entered August 16, 2004, the court dismissed
all of Plaintiff's claims against the City except those arising
under the Tennessee Governmental Tort Liability Act (“TGTLA”).

“Local governmental entities are immune from suit except when
the General Assembly has,r by statute, explicitly permitted them to
be sued.” Brown v. Hamilton Countv, 126 S.W.3d 43, 46 (Tenn. Ct.
App. 2003) (citing Fretwell v. Chaffin, 652 S.W.2d 755, 756 (Tenn.
1983)). The TGTLA waives governmental immunity from suit for
injuries resulting from tortious acts, subject to certain
enumerated exceptions. Limbaugh v. Coffee Medical Center, 59 S.W.3d
73, 78 (Tenn. 2001). The TGTLA provides in part that:

Immunity from suit of all governmental entities is

removed for injury proximately caused by a negligent act

or omission of any employee within the scope of his

employment except if the injury arises out of:

(1) the exercise or performance or the failure to

exercise or perform a discretionary function, whether or

not the discretion is abused;

(2) false imprisonment pursuant to a ndttimus from a

court, false arrest, malicious prosecution, intentional

trespass, abuse of process, libel, slander, deceit,

interference with contract rights, infliction of mental

anguish, invasion of rights of privacy, or civil rights m

T.C.A. § 29-20-205. The Tennessee Supreme Court has interpreted

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this provision to “expressly waive immunity for injuries
proximately caused by a negligent act or omission of a governmental
employee.” Limbaugh, 59 S.W.3d at 78.

The City argues that Plaintiff's claims of officer negligence
arise from his allegedly unconstitutional arrest and, therefore,
fall under the civil rights exception to the TGTLA. The City also
contends that Plaintiff has failed to offer evidence establishing
that the actions alleged caused his injuries. The City claims
further that the alleged actions of the individual officers are
normally associated with intentional torts and that Plaintiff has
no proof of the City's independent negligence. Finally, the City
argues that any alleged failure to train or supervise its police
officers constitutes a discretionary function for which.the City is
immune from suit.

A. “Civil Rights” Exception

The TGTLA provides that immunity from suit of all governmental
entities is removed or waived for any injury proximately caused by
a negligent act or omission of any governmental employee within the
scope of his employment unless the injury arises from a “civil
rights” violation. Tenn. Code Ann. § 29-20-205(2); Hale v.
Randolph, 2004 WL 185179, at *1'7 (E.D. Tenn. 2004). “It is fair
and reasonable to interpret the plain language of § 29-20-205(2) as
meaning that civil rights claims are a type of intentional tort.”

Hale, 2004 WL 185179, at * 17 (citing Brooks v. Sevier Countv, 279

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F. Supp. 2d 954, 958 (E.D. Tenn. 2003); see also Daniels v.
Williams, 474 U.S. 327 (1986)(holding that Due Process Clause does
not generally apply to negligent conduct by a government official);
Zinermon v. Burch, 494 U.S 113, 128 n.l4 (1990)(“a negligent act by
a state official does not give rise to § 1983 liability”).

In its prior order on motions to dismiss, the court found that
Plaintiff had stated a claim under the TGTLA because he had pleaded
that intentional or, in the alternative, negligent acts caused his
injuries. To the extent that it may have been unclear in the prior
order, the City is not vicariously liable under the TGTLA for
intentional torts committed by the individual officers, and all
such claims are DISMISSED.2 The remaining claims are based on the
alleged negligent acts of the individual officers. Therefore,
those claims do not fall under the civil rights exception to the
TGTLA.

B. Causation

The City argues that, even if the TGTLA has waived the City's
sovereign immunity as to claims arising from the negligence of the
individual officers, Plaintiff has failed to offer sufficient
evidence to create a genuine issue of material fact. Specifically,
the City contends that Plaintiff has failed to offer evidence that

any negligent acts of the individual officers caused Plaintiff's

 

2 It is possible that a direct claim of negligence against the City

would fall under a civil rights exception to the TGTLA. See Monell v.
Department of Social Services, 436 U.S. 658, 691 (1978). For reasons
addressed below, that claim fails on other grounds.

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injuries. Plaintiff claims that there is a genuine factual dispute
and that the issue of causation should go to a jury.

It is undisputed that, after Plaintiff had been handcuffed,
maced,3 and placed under arrest, he fell while walking down the
stairs from his walk-up apartment building. Professor Ken Barnes,
a former police officer and expert witness for the Plaintiff, gave
the following testimony at his deposition:

Q. Okay. So we've just discussed that the officers had a

duty to protect Mr. Jama. How did they breach that duty

when Mr. Jama fell down the stairs?

A. They had to maintain contact and control, as they have

stated in their reports in several places that he was ...

injured that[,] that he had been drinking and he had been
.. maced. ... And if he was drunk and had been beaten or
injured in a struggle and he had been sprayed with mace

or OC spray, his vision and acuity would be greatly

reduced, and he would need to be protected, held onto

when moved, otherwise he would fall, and, with no way to

defend himself or brace himself with his hands, he would

suffer greater injuries.
(Barnes Depo. 74-76.) Further, Dr. Daniel Kueter, who performed
brain surgery on Plaintiff after he was admitted to the hospital,
has testified that the cause of Plaintiff's injury was a blunt
force trauma to the head, which could have been caused by a fall.
(Kueter Depo. 19:5-10.) Causation is generally an issue for the
jury, and the foregoing evidence is sufficient to create a genuine

factual dispute about whether the individual officers’ actions in

escorting Plaintiff down the stairs and/or delaying Plaintiff’s

 

3 It is unclear whether the substance sprayed on Plaintiff was mace,

pepper spray, or some other burning agent. The distinction is immaterial for
purposes of this motion.

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medical treatment after his fall were the proximate cause of his
injuries.

C. The City’s Negligence

In addition to its provision for vicarious liability for the
negligent acts of municipal employees, the TGTLA allows a plaintiff
to bring a claim directly against a city where the city fails to
exercise reasonable care to protect the plaintiff from the
foreseeable risk of assault and battery by a city employee. §Q§
Limbaugh v. Coffee Medical Center, 59 S.W.Bd 73, 76 (Tenn.
2001)(finding that assault and battery are not within the list of
intentional torts excepted from the TGTLA). Plaintiff brings a
claim for common law assault and battery against the individual
officers and contends that the City was negligent in allowing the
alleged. torts to be committed. Plaintiff has not, however,
identified any municipal practice or policy deemed to be negligent
or introduced any evidence or argument that the City was negligent
in allowing the individual officers to commit the wrongful acts
alleged of them.4 Consequently, his claim for direct negligence

against the City must be DISMISSED. See Hale, 2004 WL 1854179, at

 

* 16 (dismissing claim for municipal liability where plaintiff

 

4 The City introduces evidence of officer training on conflict

resolution, use of force, and proper arrest procedures, which all of the
individual officers have received. The City provides further evidence of its
policies prohibiting the use of excessive force and states that the individual
officers had never been disciplined for the kind of conduct Plaintiff alleges.
For purposes of this motion, Plaintiff does not dispute any of this evidence.

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offered no proof of independent act of negligence); see also Order
on Motions to Dismiss at 5-7 (finding that Plaintiff had failed to
state a claim for municipal liability under § 1983).

D. Discretionary Function Exception

The City asserts that, “to the extent Plaintiff alleges that
the City is liable for any discretionary functions, such as
decisions regarding its hiring practices or the type or amount of
training it provides to MPD officers, the City is immune from
liability pursuant to Tenn. Code Ann. § 29-20-205(1).” As noted
above, Plaintiff has not identified any municipal practice or
policy that would give rise to direct liability. The City does not
appear to argue that any' decision. or~ action. by' an individual
officer constitutes the performance of a discretionary function,
Thus, the City’s argument based. on the discretionary' function
exception is moot.
V. The Individual Officers' Motion for Summary Judgment

Plaintiff claims that the individual officers violated his
Fourth Amendment rights by arresting him without probable cause and
by seizing him with excessive force.5 He brings further claims
under Tennessee common law for assault and battery. In his
response to the individual officers' motion for summary judgment,

Plaintiff “concedes that the case against Defendant Beasley and

 

5 Plaintiff originally brought additional claims which were dismissed by
prior order of the court. See Order Granting in Part and Denying in Part
Defendants' Motions to Dismiss, August 16, 2004.

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Defendant Bell is not as strong as the claims against the remaining
officers and [is] willing to dismiss his case with respect to them
only.” (Resp. at 17.) Thus, the court will DISMISS Plaintiff's
claims against Defendants Beasley and Bell and analyze the case
remaining against Defendants Beacham and Gibbs.

A. Probable Cause

Plaintiff claims that he was seized by the individual officers
without probable cause, in violation of the Fourth Amendment to the
United States Constitution. The individual officers submit
evidence demonstrating that their arrest of Plaintiff was
reasonable and that Plaintiff later entered a plea of nglg
contendere to one of the charges for which he was arrested.
Plaintiff did not respond with argument or evidence showing that he
was arrested without probable cause. A resulting conviction is a
complete defense to a subsequent civil rights action asserting that
an arrest was made without probable cause and provides a sound
basis for a claim of qualified immunity. Walker v. Schaeffer, 854
F.2d 138, 143 (6th Cir. 1988)(finding that plaintiff who had pled

nolo contendere to underlying offense was estopped from asserting

 

that police officers had arrested him without probable cause).
Thus, Plaintiff's claim that the defendant officers arrested him
without probable cause is DISMISSED.

B. Excessive Force

The individual officers argue that Plaintiff has not raised a

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genuine issue of material fact as to his excessive force claim and
that they are entitled. to the defense of qualified immunity.
“Qualified immunity' operates ‘to ensure that before they are
subjected to suit, officers are on notice their conduct is
unlawful.'” Hope v. Pelzer, 536 U.S. 730, 739 (2002) (quoting
Saucier v. Katz, 533 U.S. 194, 206 (2001)). The threshold inquiry
in a qualified immunity analysis is whether the facts, viewed in
the light most favorable to Plaintiff, establish a constitutional
violation. ldg at 736; Ka;z, 533 U.S. at 200-02. If the court
finds a constitutional violation, it must consider whether the
defendant’s actions violated “‘clearly established statutory or
constitutional rights of which. a reasonable person. would. have
known.'” ;dg (quoting Harlow v. Fitzqerald, 457 U.S. 800, 818
(1982)). Competent public officials are expected to know the law
governing their conduct, including binding precedent from the
courts in the jurisdiction in which they operate. §§§ Williams v.
Kentucky, 24 F.3d 1526, 1532-33 (6th Cir. 1994).

Plaintiff offers the following excerpt from his deposition
testimony:

Q. When you were down on your chest, was he [Gibbs]6

attempting to handcuff you?

A. He was handcuffing me when I was down on the chest,
when I fell down, and he was handcuffing me, and after

 

6 Plaintiff does not dispute the City’s characterization of his

deposition testimony as “Gibbs continued to punch Plaintiff after he had been
restrained.” (Pl. Resp. at 3.) Further, the only other officer Plaintiff
maintains claims against is Cathy Beacham, who is a woman. Thus, Plaintiff's
use of the pronoun “he" indicates that he is referring to Gibbs.

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maybe handcuffed maybe a few minutes, same time he

handcuffed me, he started punching me.

Q. So you are saying that the officer hit you after you

were handcuffed?

A. Yes, sir.

Q. And he hit you where?

A. Same side [left side of the head, as described

earlier].

Q. With what?

A. With fist.

(Jama Depo. 96:10-23.) Assaulting an arrestee who has already been
handcuffed violates clearly established constitutional rights. Seel
e.CT., PhelDS v. C'OV, 286 F.3d 295, 302 (6th Cir. 2002); POlk V.
Hopkins, 129 Fed. Appx. 285, 290-91 (6th Cir. 2005)(citing McDowell
v. Rogers, 863 F.2d 1302, 1307 (6th Cir. 1988). Thus, Plaintiff
has offered sufficient evidence to overcome a defense of qualified
immunity and survive summary judgment on his excessive force claim
against Officer Gibbs.

Plaintiff does not, however, offer evidence demonstrating that
Officer Beacham used excessive force against him in violation of
clearly established constitutional rights. Read in the light most
favorable to Plaintiff, the evidence indicates that Beacham, after
a violent struggle between Gibbs and Plaintiff in which Plaintiff
resisted arrest, placed her foot on Plaintiff's neck as he was
lying on his stomach “in the process of ... being handcuffed.”
(Jama Depo. 126:12-19.) This conduct does not constitute excessive
force in clear violation of the Fourth Amendment. See Wagner v. Bay
Ci y, 227 F.3d 316, 324 (5th Cir. 2004)(where officers' actions,

including placing a foot on arrestee’s back, “were consistent with

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the idea that they' were merely trying to restrain a violent
individual”); Estate of Phillips v. Citv of Milwaukee, 123 F.3d
586, 594 (7th Cir. 1997).7 Thus, Plaintiff’s claim against Officer
Beacham for unconstitutionally excessive force must also be
DISMISSED.

C. State Claims

Plaintiff brings claims of assault and battery against the
individual officers under Tennessee common law.“See, e.g., Hale v.
Randolph, 2004 WL 1854179, at *12 (E.D. Tenn. 2004)(finding that
plaintiff who brought § 1983 and TGTLA claims could also bring
assault and battery claims against individual police officers).
The individual officers contend that there is no genuine issue of
material fact as to Plaintiff’s state claims for assault and
battery. “An assault is an attempt, or the unequivocal appearance

of an attempt, to do a corporal injury to another, the intent to do

 

7 The Sixth Circuit has held that it is “clearly established that
putting substantial or significant pressure on a suspect's back while that
suspect is in a face-down or prone position after being subdued and/or
incapacitated constitutes excessive force.” Champion v. Outlook Nashvillel
Inc., 380 F.3d 893, 903 n.2 (6th Cir. 2004). Here, the Plaintiff’s claimed
damages result from head trauma, and there is no other evidence that the
pressure Beacham applied to Plaintiff's neck was substantial or significant.
Further, Plaintiff's evidence does not demonstrate that he had already been
subdued and/or incapacitated when Beacham placed her foot on his neck.

a Tenn. Code Ann. § 29-20-310(b) provides that “[n]o claim may be
brought against an employee or judgment entered against an employee for
damages for which the immunity of the governmental entity is removed by this
chapter....” Although a municipality may be held liable for its own
negligence in allowing an employee to commit assault and battery, it has not
been established that a municipality may be held vicariously liable when those
torts are committed by its employees. gee Limbaugh v. Coffee Medical Center,
59 S.W.Bd 73 (Tenn. 2001). Thus, courts have held that the TGTLA has not
removed immunity in those cases. gee Hale, 2004 WL 1854179, at *12.

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harm being essential.” Alexander v. Beale Street Blues Co. Inc.,

 

108 F. supp. 2d 934, 945-46 (w.D. Tenn. 1999)(quo1:ing Rushing v.
§§ate, 268 S.W.2d 563, 567 (Tenn. 1954)). “A battery is any
unlawful beating, or other physical violence or constraint,
inflicted on a human being without his consent.” ld; at 946
(quoting Rushing, 268 S.W.2d at 567).

As with his excessive force claim, Plaintiff's deposition
testimony that he was assaulted. by Officer Gibbs after being
handcuffed constitutes sufficient evidence to establish a genuine
issue of material fact as to the claim for assault and battery. gee
Whitney v. Pfeifer, 755 F.2d 93 (Table), 1985 WL 12831, at *l (6th
Cir. 1985)(holding that, if there is any difference between the
two, a § 1983 excessive force claim “imposes a standard of
liability more difficult for a plaintiff to meet than the assault
and battery charge”). Thus, the individual defendants’ motion for
summary judgment on Plaintiff's claim against Officer Gibbs must
also be denied.

Plaintiff has not, however, offered sufficient evidence that
Officer Beacham assaulted or battered him. As discussed above,
Plaintiff has not offered evidence showing that Beacham intended to
harm him or that her physical touch of Plaintiff was so far beyond
the scope of reasonable police practice as to be “unlawful.” §§e
City of Mason v. Banks, 581 S.W.2d 621, 626 (Tenn. 1979)(finding

that defendant police officer was liable for battery only to the

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extent that force used was “excessive and unprivileged”).
VI. Official Capacity Suits

Although the individual officers have not moved for dismissal
of the official-capacity suits against them, the court notes that
such actions “generally represent only another way of pleading an
action against an entity of which an officer is an agent.” Monell
v. New York City Dept. of Social Services, 436 U.S. 658, 690 n. 55
(1978). “As long as the government entity receives notice and an
opportunity' to respond, an official-capacity suit is, in all
respects other than name, to be treated as a suit against the
entity.” Kentucky v. Graham, 473 U.S. 159, 165-166 (1985). The
individual officers are employed by the City, which is also a
defendant in this action. Thus, the official-capacity' claims
against the individual officers are redundant, and the court

DISMISSES them.

VII. Conclusion

For the foregoing reasons, the City's motion for summary
judgment is GRANTED in part and DENIED in part, and the individual
officers’ motion for summary judgment is GRANTED in part and DENIED
in part. Plaintiff’s TGTLA claim of direct negligence against the
City is DISMISSED. Plaintiff’s § 1983 claim that he was arrested
without probable cause is DISMISSED. All § 1983 and common law
assault and battery claims against Officers Beasley, Bell, and

Beacham in their individual capacities are DISMISSED. All claims

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against the individual officers in their official capacities are
DISMISSED. Defendants' motions for summary judgment on all other
claims are DENIED. The case will proceed to trial on Plaintiff’s
TGTLA claims against the City for the alleged negligent acts of the
individual officers and Plaintiff’s claims against Officer Gibbs
for unconstitutionally excessive force and common law assault and

battery.

So ORDERED this 15 y'\day of July 2005.

M(/M/L__

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 76 in
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Honorable Samuel Mays
US DISTRICT COURT

